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APPENDIX 1 - PLAINTIFFS’ RESPONSE TO DEFENDANTS’ AUTHORITY REGARDING STATES APPLYING AGC OR
                              SIMILAR FACTORS (MOT. SECTION II.B.)

     STATES FOR WHICH DEFENDANTS ARGUE STATE WOULD LIKELY ADOPT AGC OR STATE LAW IS
INTERPRETED IN HARMONY WITH FEDERAL LAW: ALABAMA, ARIZONA, CALIFORNIA, COLORADO, HAWAII,
  KANSAS, MAINE, MINNESOTA, MISSISSIPPI, NEW HAMPSHIRE, NEW JERSEY, OREGON, RHODE ISLAND,
                        SOUTH DAKOTA, TENNESSEE, UTAH, VERMONT

                                            DEFENDANTS’ GENERAL AUTHORITIES
 Defendants’ Authorities                                                        Defendants’ Authorities Distinguished
 In re Dealer Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d 510 (N.D. Ill. 2019) In re Ductile Iron Pipe Fittings (DIPF) Indirect
 (“DMS”).                                                                       Purchaser Antitrust Litig., 2013 WL 5503308, at
                                                                                *14-*16 (D.N.J. Oct. 2, 2013) (“DIPF”)
 Oliver v. Am. Express Co., 2021 WL 386749 (E.D.N.Y. Feb. 1, 2021).             (explaining that AGC is not applicable to state
                                                                                antitrust claims unless it has been adopted by the
 In re Interior Molded Doors Antitrust Litig., 2019 WL 4478734 (E.D. Va.        state and Defendants must show that “the highest
 Sept. 18, 2019).                                                               court in [each] state[] would apply the AGC
                                                                                factors”); Oliver v. Am. Express Co., 2020 WL
 Supreme Auto Transp. LLC v. Arcelor Mittal, 238 F. Supp. 3d 1032 (N.D. Ill.    2079510, at *15 (E.D.N.Y. Apr. 30, 2020)
 2017) (same), aff’d sub nom. Supreme Auto Transp. LLC v. Arcelor Mittal        (rejecting the Dealer Mgmt.’s analysis as “quite
 USA, Inc., 902 F.3d 735 (7th Cir. 2018).                                       limited,” because “[a] harmonization provision in
                                                                                a state’s antitrust statute does not require a state’s
 In re Dairy Farmers of Am., Inc. Cheese Antitrust Litig., 2015 WL 3988488      Supreme Court to find that state antitrust law must
 (N.D. Ill. June 29, 2015).                                                     be analyzed under the federal standard”); In re
                                                                                Flash Memory Antitrust Litig., 643 F. Supp. 2d
 In re Refrigerant Compressors Antitrust Litig., 2013 WL 1431756 (E.D.          1133, 1151-52 (N.D. Cal. 2009) (refusing to apply
 Mich. Apr. 9, 2013).                                                           AGC to states where there is no state Supreme
                                                                                Court authority and “no state court appellate
 In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 516 F. Supp. decisions or compelling decisions from other
 2d 1072 (N.D. Cal. 2007).                                                      jurisdictions to provide this Court with guidance
                                                                                on how to ‘predict’ how the highest court of each
 Sahagian v. Genera Corp., 2009 WL 9504039 (C.D. Cal. July 6, 2009).            state would rule on the issue”). Thus, Defendants
                                                                                fail to establish that the AGC factors apply to

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                                                                                   states with no cited authority from the state
                                                                                   Supreme Court.


                                                           ALABAMA
                                 Defendants’ Authorities Distinguished and Contra Authority
DIPF, 2013 WL 5503308, at *14-*16 (explaining that AGC is not applicable to state antitrust claims unless it has been adopted by
the state and Defendants must show that “the highest court in [each] state[] would apply the AGC factors”). Defendant’s reliance
on Dealer Mgmt. is misguided. See Oliver, 2020 WL 2079510, at *15 (rejecting the Dealer Mgmt.’s analysis as “quite limited”).

                                                              ARIZONA
                                  Defendants’ Authorities Distinguished and Contra Authority
In Re G-Fees Antitrust Litig., 584 F. Supp. 2d 26, 38 (D.D.C. 2008) (“implicitly declin[ing]” to apply the AGC factors); Bunker’s
Glass Co. v. Pilkington PLC, 206 Ariz. 9, 75 P.3d 99, 110 (Ariz. 2003) (Arizona Supreme Court broadly interprets Arizona’s
antitrust standing law to “comport [] with the longstanding policy of this state to protect consumers and deter anticompetitive
behavior.”); In re Lithium Ion Batteries Antitrust Litig., 2014 WL 4955377, at *10-*11 (N.D. Cal. Oct. 2, 2014) (refusing to find
that AGC applies to Arizona antitrust law “without significant modification”); In re Cathode Ray Tube (CRT) Antitrust Litig., 738
F. Supp. 2d 1011, 1023 (N.D. Cal. 2010) (AGC factors do not apply to standing in Arizona); Flash Memory, 643 F. Supp. 2d at
1151 (same).

                                                            CALIFORNIA
Defendants’ State-Specific Authorities        Defendants’ Authorities Distinguished and Contra Authority
In re Am. Express Anti-Steering Rules         Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 63 P.3d 937, 957, n.13
Antitrust Litig., 433 F. Supp. 3d 395, 413-   (Cal. 2003) (refusing to apply AGC to a claim for intentional interference with
14 (E.D.N.Y. 2020) (concluding                prospective economic advantage); In re Keurig Green Mountain Single-Serve Coffee
California would apply AGC factors),          Antitrust Litig., 383 F. Supp. 3d 187, 258 (S.D.N.Y. 2019) (“[C]ases from the
aff’d, 19 F.4th 127 (2d Cir. 2021);           Supreme Court of California cast doubt on the applicability of AGC factors under
Contant v. Bank of Am. Corp., No. 17-cv-      California law.”); Batteries, 2014 WL 4955377, at *10-*11 (same); In re Capacitors
3139, 2018 WL 1353290, at *3 (S.D.N.Y.        Antitrust Litig., 106 F. Supp. 3d 1051, 1073 (N.D. Cal. 2015) (“[T]he federal standing
Mar. 15, 2018).                               test under AGC has not been clearly applied by the California Supreme Court to
                                              claims brought under California’s Cartwright Act.”); In re Napster, Inc. Copyright
                                              Litig., 354 F. Supp. 2d 1113, 1125 (N.D. Cal. 2003) (“[U]nder the California law, an
                                              indirect purchaser of goods or services . . . may suffer a cognizable antitrust injury.”).
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                                                         COLORADO
                                  Defendants’ Authorities Distinguished and Contra Authority
USI Ins. Servs., LLC v. Morris, 2024 WL 1436316 (D. Colo. Feb. 21, 2024) and Arapahoe Surgery Ctr., LLC v. Cigna Healthcare,
Inc., 80 F. Supp. 3d 1257, 1262-63 (D. Colo. 2015) do not discuss or apply the AGC factors to Colorado antitrust law.

                                                              HAWAII
                                    Defendants’ Authorities Distinguished and Contra Authority
Haw. Rev. Stat. §480-3 (“This chapter shall be construed in accordance with judicial interpretations of similar federal antitrust
statutes, except that lawsuits by indirect purchasers may be brought as provided in this chapter.”) (emphasis added).

                                                              KANSAS
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Wrobel v. Avery Dennison Corp., 2006         Keurig, 383 F. Supp. 3d at 259 (distinguishing Wrobel); Bellinder v. Microsoft Corp.,
WL 7130617 (Kan. Dist. Ct. Feb. 1,           2001 WL 1397995, at *1, n.1 (Kan. Dist. Ct. Sept. 7, 2001) (concluding that “Kansas’
2006).                                       repealer statute . . . grants an individual indirect purchaser standing”); Four B. Corp.
                                             v. Daicel Chem. Indus., Ltd., 253 F. Supp. 2d 1147, 1150-53 (D. Kan. 2003) (same).

                                                             MAINE
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Knowles v. Visa U.S.A., Inc., 2004 WL        Keurig, 383 F. Supp. 3d at 259-60 (finding that “a complete reading of Knowles
2475284 (Me. Super. Ct. Oct. 20, 2004)       makes it apparent that its application of AGC is not in lockstep with federal
                                             precedents” and refusing to “conclude that the highest court in Maine would apply
                                             AGC”).

                                                          MINNESOTA
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Minn. Twins P’ship v. State ex rel. Hatch,   Lorix v. Crompton Corp., 736 N.W.2d 619, 627 (Minn. 2007) (“[T]he AGC factors do
592 N.W.2d 847 (Minn. 1999).                 not provide the benchmark for antitrust standing in Minnesota.”).




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                                                          MISSISSIPPI
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Owens Corning v. R.J. Reynolds Tobacco       In re Graphics Processing Units Antitrust Litig., 540 F. Supp. 2d 1085, 1097 (N.D.
Co., 868 So. 2d 331 (Miss. 2004)             Cal. 2007) (“GPU II”) (“[F]avorable citations” to federal antitrust law in Mississippi
                                             cases “are not sufficient to mandate that the AGC test applies.”); Flash Memory, 643
                                             F. Supp. 2d at 1152 (declining to apply AGC under Mississippi law); Keurig, 383 F.
                                             Supp. 3d at 263 (same).

                                                     NEW HAMPSHIRE
                                  Defendants’ Authorities Distinguished and Contra Authority
N.H. Rev. Stat. Ann. §356:14 (“the courts may be guided by interpretations of the United States’ antitrust laws”) (emphasis added);
Batteries, 2014 WL 4955377, at *10 (§356:14 not a basis to apply AGC) (citing Donovan v. Digit. Equip. Corp., 883 F. Supp. 775,
785 (D.N.H. 1994) (harmonization statute’s “language is permissive and, thus, the court is entitled to diverge from federal antitrust
law when considering a state antitrust claim”)).


                                                          NEW JERSEY
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Sickles v. Cabot Corp., 877 A.2d 267         D.R. Ward Const. Co. v. Rohm & Haas Co., 470 F. Supp. 2d 485, 500-01 (E.D. Pa.
(N.J. Super. Ct. App. Div. 2005); Van        2006) (refusing to apply AGC despite two superior court decisions doing so);
Natta Mech. Corp. v. Di Staulo, 649 A.2d     Batteries, 2014 WL 4955377, at *9-*10 (AGC does not apply to New Jersey claims).
399 (N.J. Super. Ct. App. Div. 1994).

                                                            OREGON
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Or. Laborers-Emps. Health & Welfare Tr.      Batteries, 2014 WL 4955377, at *10-*11 (refusing to apply AGC under Oregon law);
Fund v. Philip Morris Inc., 185 F. 3d 957    Keurig, 383 F. Supp. 3d at 261 (same; citing Or. Rev. Stat. §646.715(2)).
(9th Cir. 1999).




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                                                  RHODE ISLAND
Defendants’ State-Specific Authorities Defendants’ Authorities Distinguished and Contra Authority
Ocean View Cap. Inc. v. Sumitomo Corp. Flash Memory, 643 F. Supp. 2d at 1153 (refusing to apply AGC under Rhode Island
of Am., 1999 WL 1201701 (S.D.N.Y. Dec. law); Batteries, 2014 WL 4955377, at *10 (same).
15, 1999)

                                                       SOUTH DAKOTA
                                Defendants’ Authorities Distinguished and Contra Authority
In re South Dakota Microsoft Antitrust Litig., 657 N.W.2d 668 (S.D. 2003) (upholding certification of indirect-purchaser class);
Flash Memory, 643 F. Supp. 2d at 1152 (refusing to apply AGC under South Dakota law).

                                                        TENNESSEE
                                Defendants’ Authorities Distinguished and Contra Authority
D.R. Ward, 470 F. Supp. 2d at 499 (refusing to apply AGC under Tennessee law); Batteries, 2014 WL 4955377, at *8-*11 (same);
CRT, 738 F. Supp. 2d at 1023 (same).

                                                               UTAH
                                  Defendants’ Authorities Distinguished and Contra Authority
DIPF, 2013 WL 5503308, at *14-*16 (explaining that AGC is not applicable to state antitrust claims unless it has been adopted by
the state and Defendants must show that “the highest court in [each] state[] would apply the AGC factors”); Flash Memory, 643 F.
Supp. 2d at 1151-52 (refusing to apply AGC to states where there is no state Supreme Court authority and “no state court appellate
decisions or compelling decisions from other jurisdictions to provide this Court with guidance on how to ‘predict’ how the highest
court of each state would rule on the issue”).

                                                           VERMONT
                                  Defendants’ Authorities Distinguished and Contra Authority
Elkins v. Microsoft Corp., 817 A.2d 9, 17 (Vt. 2002) (expressly rejecting argument “that the definition of who may sue under the
[Vermont Consumer Fraud Act] must be consistent with the definition of who may sue under federal antitrust law”); D.R. Ward,
470 F. Supp. 2d at 501 (refusing to apply AGC under Vermont law); Keurig, 383 F. Supp. 3d at 262 (same, citing Elkins).




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STATES FOR WHICH DEFENDANTS ARGUE STATE ADOPTED AGC: CONNECTICUT, DISTRICT OF COLUMBIA,
   ILLINOIS, IOWA, MARYLAND, MICHIGAN, NEBRASKA, NEVADA, NEW MEXICO, NEW YORK, NORTH
                     CAROLINA, NORTH DAKOTA, WEST VIRGINIA, WISCONSIN

                                                         CONNECTICUT
 Defendants’ State-Specific Authorities                  Defendants’ Authorities Distinguished and Contra Authority
Brown v. Hartford Healthcare Corp., 2023      Flash Memory, 643 F. Supp. 2d at 1151-52 (intermediate court decisions insufficient
WL 7150051 (Conn. Super. Ct. Oct. 26,         to support applying AGC); Keurig, 383 F. Supp. 3d at 259 (same); D.R. Ward, 470 F.
2023).                                        Supp. 2d at 500-01 (same).

                                                   DISTRICT OF COLUMBIA
Defendants’ District-Specific Authorities     Defendants’ Authorities Distinguished and Contra Authority
Peterson v. Visa U.S.A., Inc., 2005 WL        Keurig, 383 F. Supp. 3d at 258 (examining Peterson and refusing to apply the AGC
1403761 (D.C. Super. Ct. Apr. 22, 2005);      factors to D.C. claim).
DMS, 362 F. Supp. 3d 510.

                                                             ILLINOIS
  Defendants’ State-Specific Authorities                Defendants’ Authorities Distinguished and Contra Authority
County of Cook v. Philip Morris, Inc., 353 Cook v. Philip Morris, Inc., 353 Ill. App. 3d 55, 62-63, 817 N.E.2d 1039, 1044-46
Ill. App. 3d 55 (1st Dist. 2004); O’Regan v. (Ill. App. Ct. 2004) (failing to discuss all AGC factors); O’Regan v. Arb. Fs., Inc.,
Arb. Fs., Inc., 121 F.3d 1060, 1066 (7th     121 F.3d 1060, 1066 (7th Cir. 1997) (failing to discuss any AGC factors).
Cir. 1997); United States ex rel. Blaum v.
Triad Isotopes, Inc., 104 F. Supp. 3d 901,
930 (N.D. Ill. 2015).


                                                               IOWA
Defendants’ State-Specific Authorities        Defendants’ Authorities Distinguished and Contra Authority
Southard v. Visa U.S.A. Inc., 734 N.W.2d      Southard v. Visa U.S.A. Inc., 734 N.W.2d 192, 196-99 (Iowa 2007) (determining
192 (Iowa 2007); DMS, 362 F. Supp. 3d         whether “persons who were not indirect purchasers and who suffered injuries even
510.                                          more remote than those sustained by indirect purchasers had standing” under Iowa
                                              antitrust law due to Iowa’s “common-law remoteness doctrine”) (emphasis added).

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                                                          MARYLAND
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Waldorf Shopping Mall, Inc. v. Great Atl.    Flash Memory, 643 F. Supp. 2d at 1151-52 (intermediate court decisions insufficient
& Pac. Tea Co., 1984 WL 15690, at *11        to support applying AGC); Keurig, 383 F. Supp. 3d at 259 (same); D.R. Ward, 470 F.
(Md. Cir. Ct. Feb. 16, 1984); Oliver, 2021   Supp. 2d at 500-01 (same).
WL 386749.

                                                          MICHIGAN
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Stark v. Visa U.S.A. Inc., 2004 WL           Flash Memory, 643 F. Supp. 2d at 1152 (refusing to apply AGC under Michigan
1879003 (Mich. Cir. Ct. July 23, 2004);      law); Batteries, 2014 WL 4955377, at *8, *11 (same); CRT, 738 F. Supp. 2d at 1023
Oliver, 2021 WL 386749; Interior Molded      (same); In re TFT-LCD (Flat Panel) Antirust Litig., 586 F. Supp. 2d 1109, 1122
Doors, 2019 WL 4478734; Cheese               (N.D. Cal. 2008) (same).
Antitrust, 2015 WL 3988488; Refrigerant
Compressors, 2013 WL 1431756; DIPF,
2013 WL 5503308; Sahagian, 2009 WL
9504039; DRAM, 516 F. Supp. 2d 1072.

                                                           NEBRASKA
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Kanne v. Visa U.S.A. Inc., 723 N.W.2d 293    Arthur v. Microsoft Corp., 267 Neb. 586, 598, 676 N.W.2d 29, 38 (Neb. 2004) (“To
(Neb. 2006); Tackit v. Visa U.S.A., Inc.,    deny the indirect purchaser, who in this case is the ultimate purchaser, the right to
2004 WL 2475281 (D. Neb. Oct. 19,            seek relief from unlawful conduct would essentially remove the word ‘consumer’
2004); Batteries, 2014 WL 4955377.           from the Consumer Protection Act.”).

                                                            NEVADA
 Defendants’ State-Specific Authorities                 Defendants’ Authorities Distinguished and Contra Authority
Nev. Recycling & Salvage, Ltd. v. Reno       Nev. Recycling & Salvage, Ltd. v. Reno Disposal Co., Inc., 134 Nev. 463, 466, 423
Disposal Co., 423 P.3d 605 (Nev. 2018);      P.3d 605, 608 (Nev. 2018) (applying AGC factors because plaintiff waste hauler did
Batteries, 2014 WL 4955377.                  not allege any harm to consumers: “[h]ere, appellants’ alleged harm is insufficient to


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                                             demonstrate antitrust standing”); Flash Memory, 643 F. Supp. 2d at 1152 (refusing to
                                             apply AGC under Nevada law).


                                                         NEW MEXICO
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Nass-Romero v. Visa U.S.A. Inc., 279 P.3d    Romero v. Philip Morris Inc., 137 N.M. 229, 231, 109 P.3d 768, 770 (N.M. Ct. App.
772 (N.M. Ct. App. 2012); N.M. Oncology      2005) (New Mexico’s repealer statute permits “indirect purchasers to prove
v. Presbyterian Healthcare Servs., 169 F.    overcharges”); In re New Mexico Indirect Purchasers Microsoft Corp. Antitrust
Supp. 3d 1204, 1206, 1209 (D.N.M. 2016);     Litig., 140 N.M. 879, 886-87, 149 P.3d 976, 983-84 (N.M. Ct. App. 2006) (same).
DMS, 362 F. Supp. 3d 510.

                                                          NEW YORK
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Gatt Commc’ns, Inc. v. PMC Assocs.,          Cox v. Microsoft Corp., 2005 WL 3288130, at *5 (N.Y. Sup. Ct. July 29, 2005)
L.L.C., 711 F.3d 68 (2d Cir. 2013); Ho v.    (holding that computer purchaser plaintiffs had adequately alleged injury because
Visa U.S.A. Inc., 3 Misc. 3d 1105(A), 2004   Microsoft’s “inflated prices [were] passed [on] to consumers”).
N.Y. Slip Op. 50415(U) (Sup. Ct. N.Y.
Cnty. 2004); In re LIBOR-Based Fin.
Instruments Antitrust Litig., 2016 WL
7378980 (S.D.N.Y. Dec. 20, 2016); Oliver,
2021 WL 386749.

                                                     NORTH CAROLINA
Defendants’ State-Specific Authorities       Defendants’ Authorities Distinguished and Contra Authority
Crouch v. Crompton Corp., 2004 WL            Teague v. Bayer AG, 195 N.C. App. 18, 23-30, 671 S.E.2d 550, 555-58 (N.C. Ct.
2414027, at *18 (N.C. Super. Ct. Oct. 28,    App. 2009) (AGC factors do not apply under North Carolina law); Hyde v. Abbott
2004); Interior Molded Doors, 2019 WL        Lab’ys, Inc., 123 N.C. App. 572, 577-80, 473 S.E.2d 680, 684-85 (N.C. Ct. App.
4478734; Cheese Antitrust, 2015 WL           1996) (North Carolina’s antitrust statute authorizes indirect purchaser to sue); see
3988488; Sahagian, 2009 WL 9504039;          also CRT, 738 F. Supp. 2d at 1023 (refusing to apply AGC under North Carolina
DRAM, 516 F. Supp. 2d 1072.                  law); Flash Memory, 643 F. Supp. 2d at 1151-52 (same).


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                                                    NORTH DAKOTA
 Defendants’ State-Specific Authorities              Defendants’ Authorities Distinguished and Contra Authority
Beckler v. Visa U.S.A., Inc., 2004 WL     Howe v. Microsoft Corp., 656 N.W.2d 285 (N.D. 2003) (upholding certification of
2475100 (D.N.D. Sept. 21, 2004);          indirect-purchaser class); Keurig, 383 F. Supp. 3d at 260-61 (refusing to apply AGC
Sahagian, 2009 WL 9504039; DRAM, 516      under North Dakota law, distinguishing Beckler).
F. Supp. 2d 1072.

                                                     WEST VIRGINIA
 Defendants’ State-Specific Authorities              Defendants’ Authorities Distinguished and Contra Authority
Aikens v. Debow, 541 S.E.2d 576 (W. Va.   Aikens v. Debow, 208 W.Va. 486, 492, 541 S.E.2d 576, 582 (W. Va. 2000)
2000); DMS, 362 F. Supp. 3d 510.          (mentioning AGC in tort context); GPU II, 540 F. Supp. 2d at 1097 (refusing to apply
                                          AGC under West Virginia law); Flat Panel, 586 F. Supp. 2d at 1122-23 (same);
                                          Batteries, 2014 WL 4955377, at *8-*11(same); CRT, 738 F. Supp. 2d at 1023
                                          (same).

                                                       WISCONSIN
 Defendants’ State-Specific Authorities              Defendants’ Authorities Distinguished and Contra Authority
Strang v. Visa U.S.A., Inc., 2005 WL      Olstad v. Microsoft Corp., 284 Wis.2d 224, 254-55, 700 N.W.2d 139, 154 (Wis.
1403769 (Wis. Cir. Ct. Feb. 8, 2005);     2005) (indirect purchasers of price-fixed hardware incorporated in buildings may
Oliver, 2021 WL 386749; DMS, 362 F.       recover), Szukalski v. Crompton Corp., 296 Wis.2d 728, 734, 726 N.W.2d 304, 307
Supp. 3d 510; Sahagian, 2009 WL           n.6 (Wis. 2006) (same), abrogated on other grounds by Meyers v. Bayer AG, Bayer
9504039; G-Fees Antitrust, 584 F. Supp.   Corp., 303 Wis.2d 295, 735 N.W.2d 448 (Wis. 2007); Flash Memory, 643 F. Supp.
2d 26; Refrigerant Compressors, 2013 WL   2d at 1152 (refusing to apply AGC under West Virginia law), Keurig, 383 F. Supp.
1431756; DRAM, 516 F. Supp. 2d 1072.      3d at 262-63 (same).




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